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     Attorneys for Plaintiffs
 8
                                     UNITED STATES DISTRICT COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA

10
         IN RE: ROUNDUP PRODUCTS LIABILITY                     MDL No. 2741
11       LITIGATION

12                                                             Case No. 16-md-02741-VC
         This document relates to:
13       Cervantes v. Monsanto Co., 3:19-cv-03015-VC           PLAINTIFFS’ RESPONSE IN
         Karman v. Monsanto Co., 3:19-cv-01183-VC              OPPOSITION TO MONSANTO’S
14       Pecorelli v. Monsanto Co., 3:19-cv-06936-VC           MOTION TO EXCLUDE
         Peterson v. Monsanto Co., 3:19-cv-07271-VC            TESTIMONY OF DR. CHARLES
15       Rehak v. Monsanto Co., 3:19-cv-01719-VC               BENBROOK, DR. CHARLES
         Schafer v. Monsanto Co., 3:19-cv-02169
16       Seidl v. Monsanto Co., 3:17-cv-00519-VC               JAMESON, AND MR. STEPHEN
                                                               PETTY
17
18
19
                In response to Monsanto's Motion to Exclude Testimony of Dr. Charles Benbrook, Dr.
20
     Charles Jameson, and Mr. Steven Petty, 1 and consistent with the Court's repeated instructions not
                                               0F




21
     to relitigate issues previously ruled upon and applying the principles in Pre-Trial Order 202, but
22
     in order to fully preserve the appellate record, Plaintiffs hereby incorporate the following pleadings
23
     that were filed on the MDL docket:
24
                    •   Plaintiffs' Response to Motion to Exclude Testimony of Dr. Charles Jameson on
25
                        Daubert Grounds (ECF #8332)
26
27
28
     1
         This responds to Document 19.
                                   -1-
     ________________________________________________________________
         PLAINTIFFS' RESPONSE IN OPPOSITION TO MONSANTO'S MOTION TO EXCLUDE TESTIMONY OF PLS'
             EXPERTS ON DAUBERT GROUNDS AND FOR SUMMARY JUDGMENT ON CAUSATION GROUNDS
            Case 3:16-md-02741-VC Document 12877 Filed 04/02/21 Page 2 of 3



               •   Plaintiffs’ Response in Opposition to Defendant Monsanto Company’s Motion to
 1
                   Exclude Testimony of Dr. Charles Benbrook (ECF #8344)
 2
               •   Plaintiff’s Response in Opposition to Defendant Monsanto Company’s Motion to
 3
                   Exclude Testimony of Mr. Stephen Petty (ECF #8357)
 4
               •   Plaintiffs’ Response in Opposition to Defendant Monsanto Company’s Motion to
 5                 Exclude Testimony of Mr. Stephen Petty (ECF #8359-3)
 6
            By incorporating by reference prior filings and attaching them to this pleading, Plaintiffs
 7
     are in no way waving any arguments raised therein.
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     DATED: April 1, 2021
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10
                                                 Respectfully submitted,
11
                                                 /s/ Rhon Jones
12                                               Rhon E. Jones (JON093)
                                                 William R. Sutton (SUT013)
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     ________________________________________________________________
      PLAINTIFFS' RESPONSE IN OPPOSITION TO MONSANTO'S MOTION TO EXCLUDE TESTIMONY OF PLS'
          EXPERTS ON DAUBERT GROUNDS AND FOR SUMMARY JUDGMENT ON CAUSATION GROUNDS
             Case 3:16-md-02741-VC Document 12877 Filed 04/02/21 Page 3 of 3



 1                                  CERTIFICATE OF SERVICE

 2          I HEREBY CERTIFY that on this 1st day of April 2021, a copy of the foregoing was filed
 3   with the Clerk of the Court through the CM/ECF system which sent notice of the filing to all
 4
     appearing parties of record.
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 7                                                     /s/ William R. Sutton

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      PLAINTIFFS' RESPONSE IN OPPOSITION TO MONSANTO'S MOTION TO EXCLUDE TESTIMONY OF PLS'
          EXPERTS ON DAUBERT GROUNDS AND FOR SUMMARY JUDGMENT ON CAUSATION GROUNDS
